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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

FIESTA MART, L.L.C.,                                )
                                                    )
                       Plaintiff,                   )   CIVIL ACTION NO. 4:18-cv-04704
v.                                                  )
                                                    )   Judge Ewing Werlein, Jr.
ACON INVESTMENTS, LLC,                              )
                                                    )
                       Defendant.                   )
                                                    )

                                 JOINT SUBMISSION OF
                            VERIFIED PROOF OF CITIZENSHIP

        Pursuant to this Court’s March 18, 2019 Order (Dkt. No. 15), the Parties hereby submit

their Verified Proof of Citizenship listing the identity and citizenship of each Party’s members

through each layer of the association. Plaintiff Fiesta Mart, L.L.C.’s Verified Proof of

Citizenship is attached hereto as Ex. 1, and Defendant ACON Investments, L.L.C.’s Verified

Proof of Citizenship is attached hereto as Ex. 2.



Dated: March 26, 2019                         Respectfully Submitted and Approved,


 s/ Paul Green                                  s/ Penny P. Reid
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 Paul Green                                     Fed. Bar No. 23583
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 Investments, LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Joint Submission of Verified

Proof of Citizenship was served on the following counsel of record by electronically filing it

with the Clerk of the Court using the CM/ECF system on March 26, 2019.

  Michael K. Ross                                 Robert A. McNiel
  Paul C. Rauser                                  State Bar No. 24043814
  Alison Van Horn                                 Paul Green
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 Counsel for Defendant ACON Investments,
 LLC
                                                  s/ Tiffanie N. Limbrick
                                                  Tiffanie N. Limbrick




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

FIESTA MART, L.L.C.,                                 )
                                                     )
                        Plaintiff,                   )    CIVIL ACTION NO. 4:18-cv-04704
v.                                                   )
                                                     )    Judge Ewing Werlein, Jr.
ACON INVESTMENTS, LLC,                               )
                                                     )
                        Defendant.                   )
                                                     )

                                     PLAINTIFF’S VERIFIED
                                     PROOF OF CITIZENSHIP

         Pursuant to this Court’s March 18, 2019 Order (Dkt. 15), Plaintiff Fiesta Mart L.L.C.

submits this Verified Proof of Citizenship identifying the citizenship of all of Plaintiff’s

members through each layer of the association.

     1. Fiesta Mart, L.L.C. is a Texas limited liability company.

     2. Fiesta Mart, L.L.C.’s sole member is Fiesta Mart Holdings, L.L.C., a Delaware limited

         liability company.

     3. Fiesta Mart Holdings, L.L.C.’s sole member is Fiesta Mart Investments, L.L.C. (“FMI”),

         a Delaware limited liability company.

     4. FMI has three members.

     5. FMI’s first member is Bodega Latina Corporation (“Bodega”), a Delaware corporation

         with its principal place of business in California.

     6. FMI’s second member is Fiesta Investors, L.L.C., a Delaware limited liability company.

         In turn, Fiesta Investors, L.L.C.’s sole member is Bodega.

     7. FMI’s third and final member is Fiesta Investors Holdings, L.L.C., a Delaware limited

         liability company. In turn, Fiesta Investors Holdings, L.L.C.’s sole member is Bodega.


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Dated: March 26, 2019

                                      Respectfully submitted,

                                      SIDLEY AUSTIN LLP

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                                             COUNSEL FOR PLAINTIFF
                                             FIESTA MART, L.L.C.




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